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                            1   Matthew D. Thurlow (SBN 243470)
                            2   Email: mthurlow@bakerlaw.com
                                Theodore J. Weiss (SBN 287338)
                            3   Email: tweiss@bakerlaw.com
                            4   BAKER & HOSTETLER LLP
                                11601 Wilshire Boulevard, Suite 1400
                            5   Los Angeles, CA 90025-0509
                            6   Telephone: 310.820.8800
                                Facsimile: 310.820.8859
                            7
                            8   Attorneys for Defendant,
                                The Sherwin-Williams Company
                            9
                           10                   IN THE UNITED STATES DISTRICT COURT
                                                  CENTRAL DISTRICT OF CALIFORNIA
                           11
B AKER & H OSTETLER LLP




                                SOUTH COAST AIR QUALITY                      Case No.: 2:19-cv-00234
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                                MANAGEMENT DISTRICT,
                           13                                                 DEDENDANT THE SHERWIN-
                           14                Plaintiff,                       WILLIAMS COMPANY’S
                                                                              NOTICE OF REMOVAL
                           15          v.
                           16
                                THE SHERWIN-WILLIAMS
                           17   COMPANY,
                           18
                                             Defendant.
                           19
                           20
                           21         Pursuant to 28 U.S.C. §§ 1331, 1332, 1441, and 1446, Defendant, The
                           22   Sherwin-Williams Company (“Sherwin-Williams”), hereby removes this action
                           23   from the Superior Court of the State of California in the County of Los Angeles,
                           24   East Judicial District (“Superior Court”) to the United States District Court for the
                           25   Central District of California.
                           26         A true and correct copy of the Summons, Civil Case Cover Sheet,
                           27   Complaint, and Notice of Case Management Conference filed by Plaintiff, the
                           28   South Coast Air Quality Management District (“South Coast”), is attached hereto

                                                                                              DEFENDANT THE SHERWIN-WILLIAMS
                                                                            COMPANY’S NOTICE OF REMOVAL; CASE NO.: 2:19-CV-00234
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                            1   as Exhibit A to this Notice of Removal (“Notice”). A copy of the case docket for
                            2   the Superior Court, is attached hereto as Exhibit B to this Notice. Sherwin-
                            3   Williams will provide written notice of the filing of this Notice to South Coast and
                            4   a copy of this Notice will be filed with the Clerk of the Superior Court.
                            5         The following is a short statement of the grounds for removal:
                            6                                    BACKGROUND
                            7         1.     On November 30, 2018, South Coast filed a Summons and Complaint
                            8   against Sherwin-Williams and Does 1 through 50 in Superior Court, People of the
                            9   State of California, ex rel South Coast Air Quality Management District v. The
                           10   Sherwin-Williams Company, No. 18PSCV00136 (Cal. Sup. Ct. Nov. 30, 2018).
                           11   (Exh. A.) On December 12, 2018, South Coast served its Summons and Complaint
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                           12   on an agent for Sherwin-Williams. (Exh. A.)
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                           13         2.     South Coast is an entity that shares responsibility with the State of
                           14   California and local district attorneys for regulating non-vehicular air pollution and
                           15   emissions in all or portions of Orange, Los Angeles, Riverside, and San Bernardino
                           16   Counties that constitute the South Coast Air Basin (“Basin”). (17 CCR § 60104
                           17   (2018); Cal. Health & Safety Code § 42403 (2018); Exh. A ¶ 2.)
                           18         3.     Sherwin-Williams is an Ohio corporation, and its headquarters and
                           19   principal place of business is located in Cleveland, Ohio.
                           20         4.     South Coast’s Complaint alleges seven claims against Sherwin-
                           21   Williams and defendants Does 1 through 50: (1) Violation of District Rule 1113
                           22   (Sale): Strict Liability – Health & Safety Code Section 42402; (2) Violation of
                           23   District Rule 1113: Emission of an Air Contaminant and Knowing Failure to Take
                           24   Corrective Action – Health & Safety Code Section 42402.2(a); (3) Violation of
                           25   District Rule 1113: Negligent Emission of an Air Contaminant – Health & Safety
                           26   Code Section 42402.1(a); (4) Violation of District Rule 1113 (Offering for Sale):
                           27   Strict Liability – Health & Safety Code Section 42402; (5) Violation of District
                           28   Rule 1168: Strict Liability – Health & Safety Code Section 42402; (6) Violation of
                                                                         -2-
                                                                                              DEFENDANT THE SHERWIN-WILLIAMS
                                                                            COMPANY’S NOTICE OF REMOVAL; CASE NO.: 2:19-CV-00234
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                            1   District Rule 1143: Negligent Emission of an Air Contaminant – Health & Safety
                            2   Code Section 42402.1(a); and (7) Violation of District Rule 1143: Willful &
                            3   Intentional Emission of an Air Contaminant – Health & Safety Code Section
                            4   42402.3(a). (Exh. A ¶¶ 32-62.)
                            5            5.    South Coast’s Complaint demands $30,000,000. (Exh. A at 1.) South
                            6   Coast requests, solely on behalf of itself, recovery of civil penalties and costs of
                            7   suit, including its costs of inspection, investigation, attorney’s fees, prosecution,
                            8   and other costs. South Coast also seeks a preliminary and permanent injunction
                            9   under Health & Safety Code Section 41513 in the Basin. (Exh. A at 12.)
                           10                              GROUNDS FOR REMOVAL
                           11   A.       Sherwin-Williams Satisfied All Procedural Requirements for Removal
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                           12            1.    Removal in this matter is timely because South Coast served the
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                           13   Summons and Complaint on Sherwin-Williams on December 12, 2018. Sherwin-
                           14   Williams timely seeks to remove this matter on January 10, 2019, within thirty (30)
                           15   days of service of the Summons and Complaint. 28 U.S.C. § 1446(b). No prior
                           16   Notice of Removal has been filed or made with this Court.
                           17            2.    The proper venue for this case under 28 U.S.C. § 1391(b)(2) is the
                           18   United States District Court for the Central District of California because a
                           19   “substantial part of the events or omissions giving rise to the claims(s)” occurred in
                           20   Orange, Los Angeles, San Bernardino, and Riverside Counties, which are within
                           21   the Central District of California.
                           22   B.       Diversity Jurisdiction is a Basis for Removal
                           23            3.    This matter may be removed to this Court pursuant to 28 U.S.C. §
                           24   1441(b) because the Court has jurisdiction under 28 U.S.C. § 1332. This Court has
                           25   jurisdiction over this action because it is a civil action between citizens of different
                           26   states and the matter in controversy exceeds $75,000, exclusive of interests and
                           27   costs.
                           28   ///
                                                                          -3-
                                                                                               DEFENDANT THE SHERWIN-WILLIAMS
                                                                             COMPANY’S NOTICE OF REMOVAL; CASE NO.: 2:19-CV-00234
                          Case 2:19-cv-00234-PSG-MRW Document 1 Filed 01/10/19 Page 4 of 8 Page ID #:4



                            1         4.      The Complaint concedes that Sherwin-Williams is an Ohio
                            2   corporation. (Exh. A ¶ 4.) Sherwin-Williams is a corporation formed under Ohio
                            3   law, with its headquarters and principal place of business located in Cleveland,
                            4   Ohio. Sherwin-Williams is therefore a citizen of Ohio for purposes of diversity
                            5   jurisdiction, and not a citizen of the State of California. 28 U.S.C. § 1332(c). The
                            6   Complaint does not identify the citizenship of defendants Does 1 through 50. 28
                            7   U.S.C § 1441(b)(1) (“The citizenship of defendants sued under fictitious names
                            8   shall be disregarded.”).
                            9         5.      South Coast is a citizen of the State of California for purposes of
                           10   diversity jurisdiction in this case. Political subdivisions of states, including
                           11   California counties and air pollution control districts, are typically considered
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                           12   “citizens” for purposes of diversity jurisdiction. Moor v. County of Alameda, 411
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                           13   U.S. 693, 718-19 (1973) (“[I]t is well settled that for purposes of diversity of
                           14   citizenship, political subdivisions are citizens of their respective State.”) (internal
                           15   quotations omitted); Beentjes v. Placer County Air Pollution Control Dist., 254 F.
                           16   Supp. 2d 1159, 1171 (E.D. Cal. 2003) (“As such, the districts are less ‘arms of the
                           17   state’ than they are autonomous local agencies akin to counties and municipalities
                           18   when acting under state authority.”).
                           19         6.      Indeed, South Coast has asserted that it is a “citizen” of California in
                           20   defending the very air district rule—District Rule 1113—that South Coast seeks to
                           21   enforce in this case. Nat’l Paint & Coatings Ass’n, Inc. v. South Coast Air Quality
                           22   Mgmt. Dist., 195 Fed. Appx. 557, 558 (9th Cir. 2006) (“SCAQMD [South Coast]
                           23   removed the case on the basis of diversity and federal officer removal
                           24   jurisdiction.”); Order, Nat’l Paint & Coatings Ass’n, Inc. v. South Coast Air
                           25   Quality Mgmt. Dist., No. cv 04-02213 (SSx), at *3 (C.D. Cal. June 16, 2004) (“The
                           26   respondent’s [South Coast’s] Notice of Removal also asserted that removal is
                           27   proper based on diversity of citizenship under § 1332.”) (attached hereto as
                           28   Exhibit C).
                                                                          -4-
                                                                                               DEFENDANT THE SHERWIN-WILLIAMS
                                                                             COMPANY’S NOTICE OF REMOVAL; CASE NO.: 2:19-CV-00234
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                            1         7.     South Coast purports to bring this case on behalf of the People of
                            2   California, but South Coast, not the State, is the beneficiary of this litigation. See
                            3   Dep’t of Fair Employment and Hous. v. Lucent Techs., Inc., 642 F.3d 728, 737-38
                            4   (9th Cir. 2011) (holding that “general governmental interest” in protecting the
                            5   welfare of a state’s citizens, alone, is insufficient grounds to defeat diversity and
                            6   relief sought by agency in enforcement case must inure to the state alone).
                            7         8.     The California Air Resources Board and State Attorney General are
                            8   not involved this case. Indeed, in the Complaint, South Coast acknowledges the
                            9   clear distinction between itself—which only regulates non-vehicular air emissions
                           10   in four Southern California counties—versus the State of California. (Exh. A ¶¶ 1,
                           11   2, 11) (separately identifying the Plaintiff as the “District,” with delimited
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                           12   authority, from the “State of California,” which “has enacted a comprehensive
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                           13   statutory and regulatory framework designed to control air pollution and protect
                           14   ambient air quality in the [entire] State”). Because the State is not involved in this
                           15   litigation, and South Coast brings this action for the benefit of itself, and not
                           16   California as a whole, there is diversity of citizenship in this case. See In re
                           17   Avandia Mktg., Sales Practices and Prod. Liab. Litig., 238 F. Supp. 3d 723, 730-
                           18   31 (E.D. Pa. 2017) (holding that where county stood to recover civil penalties and
                           19   controlled strategy of the case, it was a citizen under Ninth Circuit precedent).
                           20         9.     This case is distinguishable from California v. Exide Technologies
                           21   Inc., No. 14-cv-01169, 2014 WL 12607708 (C.D. Cal. Apr. 9, 2014). That case
                           22   involved different air district rules and state interests. Exide also respectfully
                           23   appears to have been wrongly decided because the court failed to apply the correct
                           24   legal standard for evaluating when an agency should be considered the alter-ego of
                           25   the state, or the real party in interest, for purposes of diversity jurisdiction. Had the
                           26   court examined the factors used for determining citizenship under existing
                           27   precedent, it likely would have arrived at a different result.
                           28   ///
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                                                                                               DEFENDANT THE SHERWIN-WILLIAMS
                                                                             COMPANY’S NOTICE OF REMOVAL; CASE NO.: 2:19-CV-00234
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                            1         10.      The amount in controversy in this case also exceeds the $75,000
                            2   required for diversity jurisdiction. 28 U.S.C. § 1332(a). South Coast demands
                            3   $30,000,000. (Exh. A at 1.) South Coast seeks civil penalties from Sherwin-
                            4   Williams and Does 1 through 50 for violations of California Health & Safety Code
                            5   Sections 42402, 42402.1, 42402.2, and 42402.3, in amounts ranging from $10,000
                            6   to $75,000 per violation per day. (Exh. A at 11-12.)
                            7   C.    Federal Question Jurisdiction also is a Basis for Removal
                            8         11.      This Court also has original jurisdiction over this matter because this
                            9   matter involves federal questions under the federal Clean Air Act. 28 U.S.C. §
                           10   1331 (“The district courts shall have original jurisdiction of all civil actions arising
                           11   under the Constitution, laws, or treaties of the United States.”).
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                           12         12.      As the Complaint acknowledges, South Coast’s authority to regulate
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                           13   air contaminants arises under state and federal authority delegated under the Clean
                           14   Air Act. (Exh. A ¶ 20) (“VOC [volatile organic compound] emissions contribute
                           15   to the formation of ozone and particulate matter, two pollutants regulated by State
                           16   and Federal ambient air quality standards. The Clean Air Act requires the United
                           17   States Environmental Protection Agency . . . to set air quality standards to protect
                           18   both public health and the public welfare (e.g. crops and vegetation).”).
                           19         13.      South Coast previously sought to remove a challenge in a prior action
                           20   on the basis that District Rule 1113 was promulgated under the color of federal
                           21   authority. See Nat’l Paint & Coatings Ass’n Inc. v. South Coast Air Quality Mgmt.
                           22   Dist., 195 Fed. Appx. 557, 558 (9th Cir. 2006). South Coast therefore cannot
                           23   dispute that resolution of this matter necessarily involves questions “arising under”
                           24   federal law.
                           25   ///
                           26   ///
                           27   ///
                           28
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                                                                                                DEFENDANT THE SHERWIN-WILLIAMS
                                                                              COMPANY’S NOTICE OF REMOVAL; CASE NO.: 2:19-CV-00234
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                            1         WHEREFORE, Sherwin-Williams removes the action now pending against
                            2   it in the Superior Court of the State of California, County of Los Angeles, East
                            3   Judicial District, to this Honorable Court.
                            4
                            5    Dated: January 10, 2019             Respectfully submitted,
                            6
                            7
                            8                                        BAKER & HOSTETLER LLP

                            9                                        By:      /s/ Matthew D. Thurlow
                           10
                                                                              Matthew D. Thurlow (SBN 243470)
                           11                                                 Theodore Weiss (SBN 287338)
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                                                                     Attorneys for Defendant,
                           13                                        THE SHERWIN-WILLIAMS COMPANY
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                                                                                                DEFENDANT THE SHERWIN-WILLIAMS
                                                                              COMPANY’S NOTICE OF REMOVAL; CASE NO.: 2:19-CV-00234
                          Case 2:19-cv-00234-PSG-MRW Document 1 Filed 01/10/19 Page 8 of 8 Page ID #:8



                            1                            CERTIFICATE OF SERVICE
                            2         I, Matthew D. Thurlow, certify that on January 10, 2019, the foregoing
                            3   DEFENDANT THE SHERWIN-WILLIAMS COMPANY’S NOTICE OF
                            4   REMOVAL, was served via email and first class mail, on the following:
                            5   William B. Wong
                            6   wwong@aqmd.gov
                                Principal Deputy District Counsel
                            7   South Coast Air Quality Management District
                            8   21865 Copley Drive
                                Diamond Bar, CA 91765
                            9
                           10   I certify under penalty of perjury under the laws of the United States of America
                           11   that the foregoing is true and correct. Executed on January 10, 2019.
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                           13                                   By:           /s/ Matthew D. Thurlow
                           14                                                 MATTHEW D. THURLOW
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                                                                                             DEFENDANT THE SHERWIN-WILLIAMS
                                                                           COMPANY’S NOTICE OF REMOVAL; CASE NO.: 2:19-CV-00234
